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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   The United States                             Hon. Stanley R. Chesler
          v.                                     Crim. No. 08-327-13
  Christopher Doscher                       :    ORDER DENYING
                                                 APPLICATION FOR EARLY RELEA
                                                                             SE

         Upon the application pro se of defendant Christo
                                                             pher Doscher for early release from
  probation and the opposition of the United State
                                                   s, by PAUL J. FISHMAN, United States
  Attorney for the District of New Jersey (Boh
                                                dan Vitvitsky, Assistant United States Atto
                                                                                           rney,
  appearing) to this application, and upon due cons
                                                     ideration of all of the facts and circumstan
                                                                                                  ces
 related to this case and this Defendant,



        IT IS on this   c’     day of October, 2011,

        ORDERED that defendant Christopher Doscher’s
                                                             application for early release from
 probation is denied.



                                                                                    “1



                                                       Hon STANLEY R CHESLER
                                                       United States District Judge
